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 6                             UNITED STATES DISTRICT COURT
 7                           CENTRAL DISTRICT OF CALIFORNIA
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 9 Jane PCNE Doe, et al.,                            )      2:18-cv-03464-JLS-KES
                                                     )
10           Plaintiff,                              )
                                                     )      ORDER REMOVING CASE FROM
11                  v.                               )      ACTIVE CASELOAD BY VIRTUE
                                                     )      OF BANKRUPTCY FILING
12 USA Gymnastics et al.                             )
                                                     )
13           Defendant.                              )
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             In light of the Bankruptcy Court’s Order staying this action in its entirety, it is
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      hereby Ordered that this case is removed from this Court’s active caseload until further
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      application by the parties or Order of this Court. All pending dates are ordered vacated.
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      DATED: May 23, 2019
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25                                                       JOSEPHINE L. STATON
                                                         United States District Judge
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